                                                             ***        TAXES   DUE    QUERY        ***


                                                                                                                    Taxpayer     ID:0000009231
Date:         11/18/24                                                  JEFFERSON      COUNTY                                  Type:     REAL
                                               JEFFERSON    COUNTY  TREASURERS                             OFFICE              Page:                   1
                                                      TERRI   KUNZ,  TREASURER
                                               P        O   BOX    H,     BOULDER,          MT    59632-0249
                                                                          406-225-4100




                Name       &    Address                                               TW     Rang     SC     Description

MONTANA         TUNNELS          MINING        INC                                    O7N/04W         /8
                                                                                      S8,        9,16,,     MONTANA    TUNNELS
PO    BOX      176                                                                    MINE


JEFFERSON            CTY        MT     59638-0176




     Year       Int.       Date         Tax    Date               Tax     Amount             Penalty           interest          Total     Amount

     "9         12/31/24 11/30/09 526,023.18 10,520.46 793,535.31                                                                1330,078.95.
                Total          for     Tax    Date                526,023.18           10,520.46             793,535.31          1330,078.95

          9      12/31/24              05/31/10                   526,023.17           10,520.46             767,324.15          1303,867.78

                Total          for     Tax    Date                526,023.17           10,520.46             767,324.15          1303 ,867.78


                               Total     for            9     1052,046.35              21,040.92            1560,859.46          2633 ,946.73

     10          12/31/24              11/30/10                   129,546.23                2,590.92         182,481.96            314,619.11

                Total          for     Tax    Date                129,546.23                2,590.92         182,481.96           314,619.11

     10          12/31/24              05/31/11                   129,546.22                2,590.92         176,026.80-           308,163.94

                Total          for     Tax    Date                129,546.22                2,590.92         176,026.80           308,163.94


                               Total     for       10             259,092.45                5,181.84         358,508.76            622,783.05

     14          12/31/24              12/19/14                             2.51                   0.05               2.52                      5.08

               Total           for     Tax    Date                          2.51                   0.05               2.52                  5.08

     14          12/31/24              05/31/15                             2.49                   0.05               2.39                      4.93

               Total           for   Tax      Date                          2.49                   0.05               2.39                  4.93


                               Total     for       14                       5.00                   0.10               4.91                 10.01




                                             2:22-bk-20132-BPH
                                             2:22-bk-20132-BPH Doc#: 184-3
                                                               Doc#: 180-3 Filed:
                                                                     180-3 Filed: 12/06/24
                                                                                  11/19/24 Page
                                                                                  11/19/24 Page 1 of22 Exhibit
                                                                                                1 of   Exhibit 3-1
                                                                                                               3-1
                                              ***    TAXES     DUE     QUERY      ***


                                                                                                  Taxpayer     ID:0000009231
Date:      11/18/24                                  JEFFERSON         COUNTY                            Type:       REAL
                                       JEFFERSON COUNTY TREASURERS OFFICE                                    Page:            2
                                              TERRI KUNZ,  TREASURER
                                       P O BOX H, BOULDER,   MT 59632-0249
                                                           406-225-4100



             Name       &   Address                                  TW    Rang    SC    Description

MONTANA      TUNNELS         MINING    INC                           O7N/04W       /8
                                                                     88,    9,16,,      MONTANA     TUNNELS
PO   BOX    176                                                      MINE


JEFFERSON         CTY       MT   59638-0176




                                         Total      Tax,     Penalty       and    Interest                     3,256,739.79




                                      2:22-bk-20132-BPH
                                      2:22-bk-20132-BPH Doc#: 184-3
                                                        Doc#: 180-3
                                                              180-3 Filed: 12/06/24
                                                                    Filed: 11/19/24
                                                                           11/19/24 Page 2
                                                                                    Page   of 2 Exhibit
                                                                                         2of2   Exhibit 3-2
                                                                                                        3-2
